Case Summary                                                                https://www.iowacourts.state.ia.us/Efile/notify/cmsFullHistory.html?pa...
                      Case 4:20-cv-00152-CRW-SHL Document 1-1 Filed 05/15/20 Page 1 of 18




         Case Number: LACV038422                 Case Title: REED AND MADREAL SOLUTIONS V. AG
         MANUFACTURING & T
         Opened: 03-31-2020
         County: Warren
         Case Type: CONTRACT-FRAUD MISREPRESENTATI         Status: Active   Judge:
         Prayer Amount: $.00
          Show/Hide Participants

                File Date                                                      Case History
         04-17-2020 09:21:00 AM    RETURN OF ORIGINAL NOTICE
         Court                     Filed by: Court

         04-17-2020 09:21:00 AM    RETURN OF ORIGINAL NOTICE
         Court                     Filed by: Court

         03-31-2020 01:47:00 PM    PETITION FILED: PETITION
         Plaintiff                 Filed by: WILLIAM MICHAEL REASONER

         03-31-2020 01:47:00 PM    CIVIL ORIGINAL NOTICE
         Plaintiff                 Filed by: WILLIAM MICHAEL REASONER




1 of 1                                                                                                                            5/5/2020, 3:17 PM
Case 4:20-cv-00152-CRW-SHL Document 1-1 Filed 05/15/20 Page 2 of 18
Case 4:20-cv-00152-CRW-SHL Document 1-1 Filed 05/15/20 Page 3 of 18
Case 4:20-cv-00152-CRW-SHL Document 1-1 Filed 05/15/20 Page 4 of 18
Case 4:20-cv-00152-CRW-SHL Document 1-1 Filed 05/15/20 Page 5 of 18
Case 4:20-cv-00152-CRW-SHL Document 1-1 Filed 05/15/20 Page 6 of 18
Case 4:20-cv-00152-CRW-SHL Document 1-1 Filed 05/15/20 Page 7 of 18
Case 4:20-cv-00152-CRW-SHL Document 1-1 Filed 05/15/20 Page 8 of 18
Case 4:20-cv-00152-CRW-SHL Document 1-1 Filed 05/15/20 Page 9 of 18
Case 4:20-cv-00152-CRW-SHL Document 1-1 Filed 05/15/20 Page 10 of 18
Case 4:20-cv-00152-CRW-SHL Document 1-1 Filed 05/15/20 Page 11 of 18
Case 4:20-cv-00152-CRW-SHL Document 1-1 Filed 05/15/20 Page 12 of 18
Case 4:20-cv-00152-CRW-SHL Document 1-1 Filed 05/15/20 Page 13 of 18
Case 4:20-cv-00152-CRW-SHL Document 1-1 Filed 05/15/20 Page 14 of 18
Case 4:20-cv-00152-CRW-SHL Document 1-1 Filed 05/15/20 Page 15 of 18
Case 4:20-cv-00152-CRW-SHL Document 1-1 Filed 05/15/20 Page 16 of 18
Case 4:20-cv-00152-CRW-SHL Document 1-1 Filed 05/15/20 Page 17 of 18
      E-FILED 2020 APR 17 9:21 AM WARREN - CLERK OF DISTRICT COURT
Case 4:20-cv-00152-CRW-SHL Document 1-1 Filed 05/15/20 Page 18 of 18
      E-FILED 2020 APR 17 9:21 AM WARREN - CLERK OF DISTRICT COURT
